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                                                  #:792


 1     Arjun Vasan
 2     12615 193rd Street
 3     Cerritos, CA 90703
 4     (562) 900-6541
 5     arjun.vasan@gmail.com
 6     Plaintiff In Pro Per
 7
 8
                                     UNITED STATES DISTRICT COURT
 9
                                   CENTRAL DISTRICT OF CALIFORNIA
10
11                                                          Case No.: 2:25-CV-00765-MEMF-JPR
       ARJUN VASAN,
12
                                      Plaintiff,
13                                                         NOTICE OF CLARIFICATION
                      v.
                                                           REGARDING DEFENDANT’S UPDATED
14
                                                           NOTICE OF PENDENCY OF OTHER
15     CHECKMATE.COM, INC                                  ACTION
16     (dba “Checkmate”),
17                                    Defendant.
18
19
20
21
       TO THE HONORABLE COURT:
22
23            Plaintiff respectfully submits this Notice to correct two factual misstatements contained in
24     Defendant’s April 18, 2025, Notice of Pendency (ECF No. 37).
25            First, that filing asserts that “these actions arise from Plaintiff’s misrepresentations.” This is a
26     disputed allegation—not a judicial finding or uncontested premise. While Defendant’s later-filed
27     New York complaint includes such allegations, Plaintiff’s earlier-filed California complaint contains
28     no such admission and, in fact, asserts claims of retaliation, wage theft, and fraudulent inducement


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 1     committed by Defendant. Procedural filings are not the proper vehicle for asserting contested facts.
 2     Plaintiff respectfully requests that the Court treat this language as attorney argument, not fact.
 3            Second, Plaintiff calls attention to the address listed on the Summons accompanying
 4     Defendant’s New York complaint (ECF No. 37 at 5), which states “15 Greenlaw St, Sugar Land,
 5     Texas.” As demonstrated in Plaintiff’s concurrently filed Request for Judicial Notice (attached
 6     hereto as Exhibit A), that address belongs to a different individual also named Arjun Vasan. The
 7     reproducible search results referenced in ¶ 3 of the RJN are attached as Exhibit D.
 8            Defendant has continued to incorporate this address in its filings—despite being informed of
 9     the error—which is materially misleading. This error has been used to challenge Plaintiff’s
10     California residency, deny statutory protections, and question Plaintiff’s credibility. Plaintiff
11     respectfully objects to the continued use of that false address and asks that the record reflect that it
12     was Defendant—not Plaintiff—who introduced the misidentification and has failed to correct it.
13
14
15
16                                                                    Respectfully Submitted,
17
18     Dated: Friday, April 18, 2025
19                                                                    _________________________________
20                                                                    Arjun Vasan
21                                                                    Plaintiff In Pro Per
22
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24
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26
27
28


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                  EXHIBIT A
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                                                 #:795

                         Exhibit A - Request for Judicial Notice

 1    Arjun Vasan
 2    arjun.vasan@gmail.com
 3    12615 193rd Street
 4    Cerritos, CA 90703
 5    562-900-6541
 6    Plaintiff in Pro Per
 7
 8
 9                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
10
11
       Arjun Vasan,                                        Case No.: 2:25−cv−00765−MEMF−JPR
12
                     Plaintiff,
13                                                         REQUEST FOR JUDICIAL NOTICE
              vs.                                          IN SUPPORT OF PLAINTIFF’S
14
       Checkmate.com, Inc.,                                OPPOSITION TO DEFENDANT'S
15
       (dba “Checkmate”),                                  MOTION TO DISMISS OR
16                                                         TRANSFER VENUE
                     Defendant.
17                                                         [Filed concurrently with Declaration of Arjun
18                                                         Vasan, Declaration of Latha Vasan,
                                                           Opposition to Defendant’s Motion to Dismiss
19                                                         or Transfer Venue, [Proposed] Order]
20
21
22    TO THIS HONORABLE COURT, ALL PARTIES OF RECORD, AND THEIR
      ATTORNEYS:
23
24           Plaintiff Arjun Vasan ("Plaintiff") respectfully requests that this Court take judicial notice

25    of the following documents and information pursuant to Federal Rule of Evidence 201 in support

26    of Plaintiff's Opposition to Defendant's Motion to Dismiss or Transfer Venue.

27
28           1. Michael Bell's SEC Filings Demonstrating California Residency

                                                       1

                                         REQUEST FOR JUDICIAL NOTICE
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                          Exhibit A - Request for Judicial Notice

 1           Plaintiff requests notice of the following filings demonstrating that Michael Bell,
 2    Checkmate's Chief of Strategy, is a California resident who has conducted business in California
 3    for decades. The Court may take judicial notice of SEC filings as public records available on the
 4    SEC's EDGAR database, the accuracy of which cannot reasonably be questioned.
 5       •   Form 3 filed with the Securities and Exchange Commission, listing Michael Bell's
 6           address in Manhattan Beach, California, a true and correct copy of which is attached as
 7           Exhibit E. The given address is "1028 9th Street, Manhattan Beach, CA 90266.”
 8       •   SEC filing showing Michael Bell's professional history and ties to Southern California, a
 9           true and correct copy of which is also included in Exhibit E. This document states that
10           "For the past twenty-five years, Michael Bell has served as CEO/President/COO in early-
11           stage tech startups and public company roles in and around Southern California.”
12       •   For further verification of his identify, a true and correct screenshot of his public
13           LinkedIn profile is also included in Exhibit E.
14           2. VoiceBite Corporation/Indemnification Notice of Direct Claim
15           Plaintiff requests judicial notice of the Notice of Direct Claim sent by Defendant to
16    VoiceBite shareholders on January 29, 2025, a true and correct copy of which is attached as
17    Exhibit F. The Court may take notice of this document as it is a legal notice referenced in
18    Plaintiff's Complaint (¶¶ 50-52) and Opposition, and its authenticity is not in dispute. This
19    document is not offered for the truth of the matters asserted therein, but to show Defendant's
20    litigation positions and contradictions with its current representations to this Court.
21       •   Claiming $5 million in damages while seeking to withhold $1,681,815 from the
22           California-based VoiceBite team
23       •   Attempting to forfeit promised compensation including $1,350,000 in retention bonuses
24       •   Addressing team members at their California addresses, including Robert Nessler at his
25           Cupertino, California address
26           3. Google Search Results for “Arjun Vasan” “Arjun Vasan Sugar Land”, “Arjun
27               Vasan Cerritos” and “Arjun Vasan VoiceBite”.
28
                                                        2

                                          REQUEST FOR JUDICIAL NOTICE
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                          Exhibit A - Request for Judicial Notice

 1           Plaintiff requests judicial notice of search results showing that an unrelated individual
 2    named "Arjun B. Vasan" resides at the Sugar Land, Texas address listed in Defendant's New York
 3    Summons, true and correct copies of which are attached as Exhibit D. The first page results for
 4    four search terms are included in the Exhibit. The Court may take judicial notice of the existence
 5    of these search results, not for the truth of their content, but to demonstrate that publicly
 6    available information contradicts Defendant's representations regarding Plaintiff's residence.
 7    Courts have taken judicial notice of similar search results. See, e.g., Gent v. CUNA Mut. Ins.
 8    Soc'y, 611 F.3d 79, 84 n.5 (1st Cir. 2010) (taking judicial notice of Google search results).
 9       •   “Arjun Vasan” - Showing three individuals in the United States, inclusive of Plaintiff,
10           who share his name, approximate age and educational attainment.
11       •   “Arjun Vasan Cerritos” - Adding Plaintiff’s correct city of residence immediately surfaces
12           Plaintiff’s actual identity as a founder of VoiceBite and employee of Checkmate.
13       •   “Arjun Vasan VoiceBite” - Adding VoiceBite surfaces the same individual—Plaintiff.
14       •   “Arjun Vasan Sugar Land” - Adding the address listed in Defendant’s New York
15           Summons surfaces an entirely unrelated Research Assistant at UTHealth Houston and
16           PhD Candidate, with different family connections than Plaintiff.
17           4. Fathom.video Meeting Summary
18           Plaintiff requests judicial notice of a Fathom.video meeting summary dated November
19    14, 2024, at 8:13 AM, a true and correct copy of which is attached as Exhibit I. The Court may
20    take judicial notice of this document not for the truth of all matters asserted therein, but for its
21    existence and timing of the meeting, its participants and the topics discussed. See Spy Phone
22    Labs LLC v. Google Inc., 2016 WL 6025469, at *1 n.1 (N.D. Cal. Oct. 14, 2016) (taking judicial
23    notice of existence of documents without accepting the truth of their contents). This AI-generated
24    summary from Defendant's own account shows, sent inadvertently to Plaintiff’s email, shows:
25       •   The meeting occurred at 8:13 AM on Nov 14, 2024, nearly two hours before the 9:56 AM
26           email, referenced by Defendant in it’s Motion to assert Plaintiff’s “resignation".
27       •   The stated meeting purpose was "To inform Arjun Vasan of his immediate termination"
28       •   The summary explicitly states "Arjun Vasan terminated effective immediately"

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                                          REQUEST FOR JUDICIAL NOTICE
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                          Exhibit A - Request for Judicial Notice

 1       •   The participants are Amy Brown, Vishal Agarwal, Michael Bell and Plaintiff.
 2           5. Letter from K&L Gates Confirms Plaintiff Lacked Counsel During Merger
 3           Plaintiff requests judicial notice of a letter dated February 21, 2025, from Charles M. Tea
 4    III, Deputy General Counsel of K&L Gates LLP, to Plaintiff, a true and correct copy of which is
 5    attached as Exhibit G. This letter was in response to Plaintiff's draft complaint to the California
 6    State Bar (referenced in the letter but not included here) regarding ethics concerns with K&L
 7    Gates' representation. The Court may take judicial notice of this letter not for the truth of all
 8    matters asserted therein but for its contradiction of assertions made in Defendant's Motion and
 9    Declaration of Vishal Agarwal regarding Plaintiff's representation status. This letter states:
10       •   With regards to the merger period: “Any pre-closing communications you and others had
11           with counsel for VoiceBite belonged to VoiceBite, which is now owned by our client
12           Checkmate, as is any privilege that previously belonged to VoiceBite.”
13       •   With regards to the current dispute. “In spite of our Firm's repeated urging that you retain
14           counsel to represent you .. you have thus far declined to do so, choosing instead to
15           represent yourself pro se."
16
17    For the foregoing reasons, Plaintiff respectfully requests that the Court take judicial notice of the
18    above-referenced documents and information in connection with Plaintiff's Opposition to
19    Defendant's Motion to Dismiss or Transfer Venue.
20
21                                                           Dated: Tuesday, April 8, 2025,.
22                                                           Respectfully Submitted,
23
24
25
26                                                           _________________________________
27                                                           Arjun Vasan
28                                                           Plaintiff In Pro Per

                                                        4

                                           REQUEST FOR JUDICIAL NOTICE
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                 EXHIBIT D
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                                     #:800
                   Exhibit D - Google Results for Arjun Vasan




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                  Exhibit D - Google Results for Arjun Vasan




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                  Exhibit D - Google Results for Arjun Vasan




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                  Exhibit D - Google Results for Arjun Vasan




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